      Case 3:19-cr-00262-N Document 6 Filed 06/11/19         Page 1 of 2 PageID 17



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

 UNITED STATES OF AMERICA

 v.                                                NO. 3-19-CR-262-N

 SHON GREENWOOD (01)
 DAWN MARIE GREENWOOD (02)

           GOVERNMENT’S MOTION FOR PRETRIAL DETENTION

The United States moves for pretrial detention of the defendant(s) pursuant to 18 U.S.C.
§§ 3142(e) and (f).

       1.    Eligibility of Case: This case is eligible for a detention order because
the case involves:

       Crime of violence [18 U.S.C. § 3156]
       Maximum sentence of LIFE imprisonment or death
       Controlled Substance offense punishable by 10 or more years
       Felony with 2 prior convictions in above categories
       Felony involving a minor victim
       Felony involving the possession or use of a firearm, destructive device, or other
       dangerous weapon
       Felony involving a failure to register under 18 U.S.C. § 2250
       Serious risk that the Defendant will flee
       Serious risk that Defendant will obstruct justice

       2. Reason for Detention. The Court should detain the Defendant because there
are no conditions of release which would reasonably assure:

       Defendant's appearance as required
       The safety of the community
       The safety of another person

      3. The United States will invoke the rebuttable presumption against the Defendant
because there is probable cause to believe that the Defendant has committed:

       A Controlled Substance Offense punishable by 10 or more years imprisonment
       A firearms offense under Title 18, United States Code, Section 924(c)
       A federal crime of terrorism punishable by 10 or more years imprisonment

Detention Motion, Page 1
    Case 3:19-cr-00262-N Document 6 Filed 06/11/19            Page 2 of 2 PageID 18



      A Felony -listed in 18 U.S.C. § 3142(e) - involving a minor victim
      A Felony involving a failure to register under 18 U.S.C. § 2250
      The Defendant has previously been convicted of an offense described in 18 USC §
      3142(f)(1) which was committed while the Defendant was released on bond
      pending trial for any offense and less than 5 years have elapsed since the latter of
      the defendant’s conviction or date of release from imprisonment for such
      conviction.

       4. Time for Detention Hearing. The United States requests the Court to conduct
the detention hearing
         At the Defendant's first appearance
         After a continuance of 3 days.


                                                 Respectfully Submitted,

                                                 ERIN NEALY COX
                                                 UNITED STATES ATTORNEY

                                                 s/ John Kull
                                                 JOHN KULL
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                             CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the above pleading was served, or will be
served at their initial appearance, upon the Defendant(s) or his counsel of record in
accordance with the provisions of Rule 49 of the Federal Rules of Criminal Procedure.

              DATE: June 11, 2019

                                                 s/ John Kull
                                                 JOHN KULL
                                                 Assistant United States Attorney




Detention Motion, Page 2
